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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                          MAR 19 2025
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
PACITO; et al.,                                  No. 25-1313
                                                 D.C. No. 2:25-cv-00255-JNW
             Plaintiffs - Appellees,
                                                 Western District of Washington,
                                                 Seattle
 v.
                                                 ORDER
DONALD J. TRUMP, in his official
capacity as President of the United States; et
al.,

             Defendants - Appellants.

Before: SILVERMAN, BADE, and DE ALBA, Circuit Judges.

      This court is informed that the government’s motion to stay the preliminary

injunction, filed in the district court on March 3, 2025, remains undecided. The

district court is respectfully requested to rule on the motion by no later than 12:00

PM PDT on Friday, March 21, 2025.

      The clerk will serve this order on District Judge Whitehead.
